        Case 1:20-cv-11110-PAE-DCF Document 7 Filed 01/12/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

JANE DOE XXI,

                                Plaintiff,
               v.                                           Case No. 1:20-cv-11110
DARREN K. INDYKE and RICHARD D. KAHN,
in their capacities as co-executors of the ESTATE OF
JEFFREY EDWARD EPSTEIN,
                                Defendants.


                           ORDER ON PLAINTIFF’S ANONYMITY

         IT IS HEREBY ORDERED that any person subject to this Order, including the parties to

this action and their respective counsel of record, shall adhere to the following terms:

    1. Within three (3) days of entry of this Order, Counsel of Record for Plaintiff shall disclose
       Plaintiff’s identity to Counsel of Record for Defendants, in writing.

    2. Counsel of Record for Defendants may disclose Plaintiff’s identity only to Defendants and
       any attorneys, paralegals, and clerical or other assistants working with or for Defendants
       on matters related to this action; and the recipients of such information shall not disclose it
       to any other persons.

    3. If Defendants wish to disclose Plaintiff’s identity to any person not otherwise permitted to
       receive such information under this Order, Defendants are limited to doing so in connection
       with defending this action, and must require such person to first execute a non-disclosure
       agreement, in a form agreed to by the parties, that prevents such person from disclosing
       Plaintiff’s identity to any other persons. Defendants must maintain a list of all such persons
       to whom Plaintiff’s identity is disclosed and copies of the executed non-disclosure
       agreements, all of which are subject to in camera inspection.

    4. All portions of pleadings, motions or other papers filed with the Court that disclose
       Plaintiff’s identity shall be filed under seal with the Clerk of the Court and kept under seal
       until further order of the Court. The parties shall use their best efforts to minimize such
       sealing. Any party filing a motion or any other papers with the Court under seal shall also
       publicly file a redacted copy of the same, via the Court’s Electronic Case Filing system,
       that redacts the Plaintiff’s identity and text that would reveal Plaintiff’s identity.

    5. The parties may seek to modify or amend this Order at any time upon motion to the Court
       or by stipulation.



112361474v1
        Case 1:20-cv-11110-PAE-DCF Document 7 Filed 01/12/21 Page 2 of 3




SO ORDERED.

Date: __________________
       -DQXDU\
      New York, New York
                                           
                                           ____________________________
                                           HON. 3DXO$(QJHOPD\HU
                                           United States 'LVWULFW Judge
                                           Southern District of New York




112361474v1                            4
          Case 1:20-cv-11110-PAE-DCF Document 7 Filed 01/12/21 Page 3 of 3



                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

JANE DOE XXI,

                                Plaintiff,
              v.
                                                               Case No. 1:20-cv-11110
DARREN K. INDYKE and RICHARD D. KAHN,
in their capacities as co-executors of the ESTATE OF
JEFFREY EDWARD EPSTEIN,
                                Defendants.


                                 NON-DISCLOSURE AGREEMENT

         I,                              , acknowledge that I understand that the identity of the
 Plaintiff in this action is confidential. I agree that: (1) I will hold in confidence Plaintiff’s identity;
 (2) I will use Plaintiff’s identity only in connection with this litigation; and (3) I will take all due
 precautions to prevent the unauthorized or inadvertent disclosure of Plaintiff’s identity.

         By acknowledging these obligations under this Non-Disclosure Agreement, I understand
 that I am submitting myself to the jurisdiction of the United States District Court for the Southern
 District of New York for the purpose of any issue or dispute arising hereunder, and that my willful
 violation of any term of the Non-Disclosure Agreement could subject me to punishment for
 contempt of court.

 Dated:


                                                                             [Signature]




112361474v1
